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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

JP MORGAN CHASE BANK, NATIONAL     )
ASSOCIATION,                       )
                                   )
                       Plaintiff,  )
                                   )
           v.                      )                          Case No. 1:19-CV-05770
                                   )
ROBERT KOWALSKI, AKA ROBERT M.     )
KOWALSKI; UNKNOWN OWNERS AND       )
NON-RECORD CLAIMANTS; CHICAGO      )                         1512 W. Polk Street
TITLE LAND TRUST COMPANY s/i/i TO  )                         Chicago, IL 60607
BRIDGEVIEW BANK GROUP FKA          )
BRIDGEVIEW BANK AND TRUST COMPANY, )
AS TRUSTEE UNDER TRUST AGREEMENT   )
DATED APRIL 24, 1993 AND KNOWN AS  )
TRUST NUMBER 1-2228; MARTHA        )
PADILLA; FEDERAL DEPOSIT INSURANCE )
CORPORATION, AS RECEIVER FOR       )
WASHINGTON FEDERAL BANK FOR        )
SAVINGS,                           )
                                   )
                       Defendants. )

             PRINCIPAL PARTIES’ JOINT STATUS REPORT ON DISCOVERY

        The principal parties in this litigation, Plaintiff JPMorgan Chase Bank, N.A. (“Chase”),

Defendant Federal Deposit Insurance Corporation, as Receiver for Washington Federal Bank for

Savings (“FDIC-R”), and Defendant Martha Padilla (“Padilla”) (collectively, the “Parties”) hereby

jointly submit this Status Report pursuant to Court Order. (See Dkt. 196).

A.      STATUS OF APPRAISAL OF PROPERTY.

        1.     In a Joint Status Report filed on April 25, 2022 (Dkt. 195), the Parties reported that

they were interested in a second pre-trial settlement conference, subject to Chase and FDIC-R’s

precondition that they be permitted to complete a full appraisal and interior inspection of the

subject property.
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        2.      The appraiser was granted interior access for an appraisal on May 23, 2022, and the

full appraisal and report is expected on or about May 26, 2022.

B.      PRE-TRIAL SETTLEMENT CONFERENCE.

        1.      Accordingly, the Parties are prepared to proceed with a pre-trial settlement

conference.

        2.      Magistrate Judge McShain previously has advised of her availability on June 14,

2022 from 9 am – 12 pm, and the Parties would like to schedule a conference on this date and time.

C.      ANY OTHER ISSUES TO REPORT TO THE COURT.

        None.

             SUBMITTED JOINTLY AND BY AGREEMENT OF THE PARTIES:

 Date: May 24, 2022

 PLAINTIFF JPMORGAN CHASE BANK, DEFENDANT FEDERAL DEPOSIT
 NATIONAL ASSOCIATION                     INSURANCE CORPORATION,
                                          AS RECEIVER FOR WASHINGTON
 /s/ Shana A. Shifrin                     FEDERAL BANK FOR SAVINGS
 Shana A. Shifrin (sshifrin@burkelaw.com)
 Burke, Warren, MacKay & Serritella, P.C. /s/ James M. Dash
 330 North Wabash Avenue, 21st Floor      James M. Dash (jdash@carlsondash.com)
 Chicago, Illinois 60611-3607             Carlson Dash, LLC
 Telephone: (312) 840-7000                216 Jefferson St., Ste 504
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                                          Telephone: (312) 382-1600
 DEFENDANT MARTHA PADILLA                 Facsimile: (312) 382-1619

 /s/ Joseph R. Ziccardi                              /s/ Rick Rein
 Joseph R. Ziccardi                                  Eric S. Rein (rrein@hmblaw.com)
 (jziccardi@ziccardilaw.com)                         Matthew R. Barrett (mbarrett@hmblaw.com)
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